JOHN H. BEASLEY, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Beasley v. CommissionerDocket No. 99113.United States Board of Tax Appeals42 B.T.A. 275; 1940 BTA LEXIS 1020; June 28, 1940, Promulgated *1020  An individual who had been an administrator and had paid the other debts of the estate without satisfying the estate's debt for income tax due to the United Statesheld, despite his discharge by the probate court, liable in his own person and estate to the extent of such unpaid tax, under Revised Statutes, section 3467, and Revenue Act of 1934, section 311(a)(2).  John H. Beasley, Esq., pro se.  Lucien W. Shaw, Esq., F. R. Shearer, Esq., and J. P. Wenchel, Esq., for the respondent.  STERNHAGEN *275  The Commissioner determined that petitioner was liable for a deficiency of $144.36 in income tax for 1935 due from the estate of John T. Beasley, deceased, of which petitioner is the discharged administrator.  Petitioner contends that he is freed from liability under Revised Statutes, section 3467, by reason of a probate court order approving his accounts and discharging him.  The proceeding was submitted upon a stipulation of facts under Rule 30.  FINDINGS OF FACT.  Petitioner is a resident of Terre Haute, Indiana.  On May 25, 1936, the Circuit Court of Vigo County, Indiana, a probate court, appointed him administrator with the will annexed*1021  of the estate of John T. Beasley, deceased.  The estate was then liable for income taxes of $144.36, the unpaid balance of the tax assessed against John T. Beasley for 1935, and petitioner was aware of this liability at the time of his appointment.  On August 6, 1936, the collector of internal revenue for the district of Indiana filed a claim for taxes due in the amount of $154.36 (later reduced to $144.36) and asserted its priority over all other claims under section 3466 of the Revised Statutes and section 64(a) of the Bankruptcy Act.  On August 12, 1936, the claim was allowed generally by petitioner as administrator.  On September 12, 1936, petitioner filed with the court a petition alleging the estate's insolvency and praying that it be settled as insolvent pursuant to Indiana law.  An order so directing was entered the same day, and pursuant thereto petitioner published notice of the insolvency and duly advised the court.  On December 16, 1936, petitioner filed a petition with the court, showing that more than six months had elapsed since notice of his appointment as administrator, that the estate had been fully administered, and prayed authority to file a final account and*1022  report.  The petition was granted, and on the same day petitioner filed the final report, in which he stated that all of the estate's assets had been converted into cash, which amounted *276  to $3,186.23, and had been disbursed as follows: administrator's fees $489.6 ; expenses of administration $146.22; undertaker's charges $1,745; other funeral expenses $97; doctor's bills $203; miscellaneous expenses of last illness $5.40; widow's allowance $500.  The clerk of the court fixed and published January 9, 1937, as the date on which all persons interested should appear and show cause why the report should not be approved.  No objections or exceptions to it were filed on behalf of the United States, and no one appeared on behalf of the United States in opposition to the report at the hearing.  On January 14, 1937, the court entered an order that: * * * said report should be and the same is now and hereby in all things approved, the Administrator with Will annexed should be and he is now and hereby discharged, his bondsmen released from further liability herein, and said estate adjudged fully and finally settled.  No appeal was taken by the United States or by the Commissioner*1023  from this order.  OPINION.  STERNHAGEN: The Commissioner determined an individual liability of petitioner for the deficiency in 1935 income tax of the decedent of whose estate petitioner had been the administrator.  In the Commissioner's notice the ground is stated as follows: The information on file in this office indicates that all of the assets of the above-named estate were disposed of and the debts were settled without first having satisfied the tax due the United States from the estate as provided under Revised Statutes 3467.  The above amount represents your liability under section 311(a)(2) of the Revenue Act of 1934 for unpaid income tax due from the estate of John T. Beasley, deceased for the taxable year ended December 31, 1935.  The essence of petitioner's contention is that his discharge by the probate court terminated his liability, since the Government was aware of the administration proceedings and had not enforced its claim or objected to the final order of the probate court.  The liability determined by the Commissioner was not the liability of the estate or of the executor of the estate.  It was the personal liability of the petitioner by reason of Revised*1024  Statutes, section 3467, 1 and such liability is being enforced by the Commissioner in the manner prescribed by section 311(a)(2), Revenue Act of 1934.  The case fits squarely within section 3467, for the petitioner was an administrator who paid the other debts of the estate without satisfying *277  the estate's debt for taxes due to the United States (of which he admits he had knowledge).  He therefore is answerable in his own person and estate to the extent of such unpaid tax,  Helen Dean Wright,28 B.T.A. 543;  Lillia L. Morris,36 B.T.A. 516, and such liability is by section 311(a)(2) determinable by the Board,  Phillips v. Commissioner,283 U.S. 589. Cases which consider the liability of the estate or the executor after discharge are manifestly not in point, cf.  Hulburd v. Commissioner,296 U.S. 300;  Elna S. Evans, Administratrix,12 B.T.A. 334;  Elnora C. Haag,19 B.T.A. 982; affd.,  59 Fed.(2d) 514;  Estate of Lee R. Farrell,35 B.T.A. 265; *1025 William B. Weigel et al., Trustees,34 B.T.A. 237, affd., 96 F.(2d) 387;  Puget Sound National Bank of Tacoma,36 B.T.A. 386.Decision will be entered for the respondent.Footnotes1. Every executor, administrator, or assignee, or other person, who pays, in whole or in part, any debt due by the person or estate for whom or for which he acts before he satisfies and pays the debts due to the United States from such person or estate, shall become answerable in his own person and estate to the extent of such payments for the debts so due to the United States, or for so much thereof as may remain due and unpaid.  (R.S. § 3467, amended May 10, 1934, c. 277, § 518(a), 48 Stat. 760.) (U.S.C., Title 31, § 192↩.) 